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                                UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF INDIANA
                                     INDIANAPOLIS DIVISION

IN RE:                                    )
                                          )
ITT EDUCATIONAL SERVICES, INC., et al. 1  )                               Case No. 16-07207-JMC-7A
                                          )
      Debtors.                            )                               Jointly Administered
__________________________________________)
                                          )
DEBORAH J. CARUSO, the CHAPTER 7          )
TRUSTEE for ITT EDUCATIONAL               )
SERVICES, INC., ESI SERVICE CORP. and     )
DANIEL WEBSTER COLLEGE, INC.,             )
                                          )
                  Plaintiff,              )                               Adversary No. 18-50100
                                          )
      vs.                                 )
                                          )
KEVIN MODANY, JOHN E. DEAN, C. DAVID )
BROWN II, JOANNA T. LAU, THOMAS I.        )
MORGAN, JOHN VINCENT WEBER, JOHN F. )
COZZI, SAMUEL L. ODLE, and JERRY M.       )
COHEN,                                    )
                                          )
                  Defendants.             )

                        TRUSTEE’S RESPONSE TO FORMER
                 DIRECTORS’ MOTION TO WITHDRAW THE REFERENCE

         Plaintiff Deborah J. Caruso (“Plaintiff” or “Trustee”), as Chapter 7 trustee for ITT

Educational Services, Inc., ESI Service Corp., and Daniel Webster College, Inc. (collectively,

“ITT,” “Debtors,” or the “Company”) hereby responds to John E. Dean, C. David Brown II,

Joanna T. Lau, Thomas I. Morgan, John Vincent Weber, John F. Cozzi, Samuel L. Odle, and

Jerry M. Cohen’s (the “Former Directors”) motion for an order withdrawing the reference of the

above-captioned adversary proceeding (“Action”) to the United States Bankruptcy Court for the

Southern District of Indiana (the “Bankruptcy Court”).

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 The debtors in these cases, along with the last four digits of their respective federal tax identification numbers are
ITT Educational Services, Inc. [1311]; ESI Service Corp. [2117]; and Daniel Webster College, Inc. [5980].
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       In this Action, the Trustee alleges that ITT’s former CEO’s and the Former Directors’

breaches of their fiduciary duties to ITT caused it to precipitously close and damage ITT and its

stakeholders. The Former Directors now seek to withdraw the reference to the Bankruptcy Court

due to the Trustee’s jury demand. The Trustee does not dispute that, without the Former

Directors’ consent, any eventual jury trial must be conducted in the United States District Court

for the Southern District of Indiana (the “District Court”). Nor does the Trustee oppose

withdrawing the reference to the Bankruptcy Court for this Action on this basis.

       But the Trustee does oppose the Former Directors’ motion to the extent it seeks to have

the District Court preside over discovery and other pretrial matters. While the Former Directors’

motion argues that the District Court must conduct a jury trial and/or enter final judgment on the

Trustee’s breach-of-fiduciary-duty claims, it fails to mention that the Trustee’s Complaint also

asserts a claim to equitably subordinate the creditor claim of ITT’s former CEO under Sections

105(a) and 510 of the Bankruptcy Code. This equitable subordination claim is a core bankruptcy

claim under 28 U.S.C. § 157(b) and is based on many of the same facts as the Trustee’s breach-

of-fiduciary-duty claim.

       While the Former Directors are correct that “the Trustee’s Complaint was only recently

filed, and the Bankruptcy Court has taken no action in the litigation,” the Debtors’ jointly

administered bankruptcy proceeding, Case No. 16-07207-JMC-7A, is currently pending before

the Bankruptcy Court. Given the Trustee’s core bankruptcy claim, which is intertwined with her

breach-of-fiduciary-duty claim, and the Bankruptcy Court’s familiarity with ITT’s bankruptcy

proceedings, the Trustee respectfully requests that, after withdrawing the reference, the District

Court authorize Judge Carr to handle all pretrial proceedings in the case. This approach will

avoid duplicative discovery and motions, and will promote judicial efficiency.


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July 11, 2018                                       Respectfully submitted,

/s/ Ronald J. Schutz                                /s/ John C. Hoard
Ronald J. Schutz                                    John C. Hoard

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-and-

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Co-counsel to the Trustee

                                CERTIFICATE OF SERVICE

        I hereby certify that on July 11, 2018, a copy of the foregoing Trustee’s Response to
Former Directors’ Motion to Withdraw the Reference was filed electronically. Notice of this
filing will be sent to the following party/parties through the Court’s Electronic Case Filing
System. Party/parties may access this filing through the Court’s system.

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U.S. Trustee ustpregion10.in.ecf@usdoj.gov
Paul D. Vink pvink@boselaw.com, clindsey@boselaw.com
Philip A. Whistler philip.whistler@icemiller.com, carla.persons@icemiller.com

       I further certify that on July 11, 2018, a copy of the foregoing Trustee’s Response to
Former Directors’ Motion to Withdraw the Reference was mailed by first-class U.S. Mail,
postage prepaid and properly addressed, to the following:

None.

                                                                      /s/ John C. Hoard
                                                                      John C. Hoard
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